Case 5:22-cv-00079-PA-SHK Document 9 Filed 01/14/22 Page 1 of 1 Page ID #:77

                                              United States District Court
                                                 Central District of California           Cristina M. Squieri Bullock
                                                  Office of the Clerk                    Chief Deputy of Administration
                                                                                         350 West 1st Street, Suite 4311
                                                                                            Los Angeles, CA 90012

               Kiry K. Gray                                                                     Sara Tse Soo Hoo
  District Court Executive / Clerk of Court                                                Chief Deputy of Operations
       350 West 1st Street, Suite 4311                                                 255 East Temple Street, Suite TS-134
           Los Angeles, CA 90012                                                             Los Angeles, CA 90012



                                                  January 14, 2022

       Riverside County Superior Court
       4050 Main Street
       Riverside, CA 92501

Re: Case Number:       5:22−cv−00079−PA−SHK
    Previously Superior Court Case No.     CVRI2105558
    Case Name:       Devin Santivanez v. Zumiez Inc. et al

Dear Sir/Madam:

      Pursuant to this Court’s ORDER OF REMAND issued on                   01/14/2022        , the above−referenced
case is hereby remanded to your jurisdiction.

       Attached is a certified copy of the ORDER OF REMAND and a copy of the docket sheet from this Court.

      Please acknowledge receipt of the above by signing the enclosed copy of this letter and returning it to the
location shown below. Thank you for your cooperation.

United States Courthouse
255 East Temple Street, Suite TS-134
Los Angeles, CA 90012


                                                                  Respectfully,

                                                                  Clerk, U.S. District Court

                                                                  By: /s/ Margo Mead
                                                                     Deputy Clerk
                                                                     margo_mead@cacd.uscourts.gov
Encls.
cc: Counsel of record

Receipt is acknowledged of the documents described above.



                                                                  Clerk, Superior Court


                                                                  By:
Date                                                                    Deputy Clerk




 CV−103 (05/18)          LETTER OF TRANSMITTAL − REMAND TO SUPERIOR COURT (CIVIL)
